Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 1 of 54 PageID 766




                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA

                                                     CASE NO. 8:23-cv-00821


 THE BEAUTIES AND
 THE BRANDS, LLC,

            Plaintiff,
 v.

 AICHA YODER, and
 THE BLUSH BAR TAMPA, LLC,

            Defendants,



 THE BLUSH BAR TAMPA, LLC,

            Counter-Plaintiff,

 v.

 THE BEAUTIES AND
 THE BRANDS, LLC,

     Counter-Defendant.
 __________________________________/


   THE BLUSH BAR TAMPA, LLC’S AMENDED COUNTERCLAIM AND
                  DEMAND FOR JURY TRIAL


            Counter-Plaintiff, The Blush Bar Tampa, LLC (“Blush Bar” or “Counter-

 Plaintiff”), hereby files its Amended Counterclaim against The Beauties and the


                                                                        Page 1
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 2 of 54 PageID 767




 Brands, LLC (“Counter-Defendant”) and Demand for Jury Trial, and in support

 thereof, Blush Bar states the following:

                                                NATURE OF THE ACTION

            1.          This is an action for a declaratory judgment arising from Defendant’s

 allegations that Blush Bar infringed a service mark.

            2.          In reality, the Counter-Defendant’s use of the “The Beauties and The

 Brand” mark (the “Subject Mark”) is generic and/or merely descriptive of

 services provided by Counter-Defendant – i.e., assisting so-called ‘beauties’ to

 build a brand (the so-called offered “Services”). Nothing about the Subject Mark

 warrants trademark protection under the law, as Counter-Defendant fails to show

 that the Subject Mark is inherently distinctive. Further, Counter-Defendant’s use

 of the Subject Mark amounts to mere token use. Finally, upon information and

 belief, despite filing a Trademark Act Section 1(a) application for the Subject Mark,

 Counter-Defendant does not use the Subject Mark in interstate commerce for all

 services claimed in the Subject Mark’s U.S. trademark application.

            3.          Accordingly, the Blush Bar seeks declarations that: (1) Counter-

 Defendant lacks any protectable trademark rights in the Subject Mark under

 federal law due to trademark invalidity; (2) Counter-Defendant lacks any

 protectable trademark rights under Florida law due to trademark invalidity; (3)

 Counter-Plaintiff’s use of “Beauties and The Brand” or variations or components

 thereof does not amount to trademark infringement or unfair competition under
                                                                       Page 2
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 3 of 54 PageID 768




 federal law, and does not otherwise violate any provisions of 15 U.S.C. §§ 1114, and

 1125 of the Lanham Act; (4) Counter-Plaintiff’s use of “Beauties and the Brand” or

 variations or components thereof does not amount to trademark infringement or

 unfair competition under Florida law; and (5) Counter-Defendant’s U.S.

 trademark registration should be cancelled on the principal registrar because the

 Subject Mark is generic, merely descriptive and not inherently distinct, and/or

 procured through fraud on the United States Patent and Trademark Office

 (USPTO).

                                                             THE PARTIES

            4.          Blush Bar is a Florida Limited Liability Company with its principal

 place of business located at 9250 Bay Plaza Blvd., Suite 311, Tampa, Florida 33619.

            5.          Upon information and belief, Counter-Defendant is a Florida Limited

 Liability Company with its principal place of business located at 13546 Wild Ginger

 Street, Riverview, Florida, 33579.

            6.          Upon information and belief, Counter-Defendant was formed in

 January 2021, with Terika Haynes listed as the owner, manager, and authorized

 member of the company, as filed in January 2021.

                                             JURISDICTION AND VENUE

            7.          This Court has subject matter jurisdiction over this action pursuant to

 28 U.S.C. §§ 2201 and 2202 to declare the rights of any party seeking a declaration,

 and subject matter jurisdiction under Section 39 of the Lanham Act, 15 U.S.C. §

                                                                       Page 3
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 4 of 54 PageID 769




 1121, because this action arises from Counter-Defendant’s claim that Blush Bar’s

 use of BEAUTY & THE BRAND or variations or components thereof infringe

 Counter-Defendant’s purported federal and common law trademark rights. The

 Court also has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338.

            8.          The Court has personal jurisdiction over Counter-Defendant because

 upon information and belief it resides in the Middle District of Florida and in

 Hillsborough County.

            9.          The Court has general personal jurisdiction over Counter-Defendant

 because Counter-Defendant is incorporated in the State of Florida. The Court also

 has personal jurisdiction over Counter-Defendant under Fla. Stat. §48.193(1)(a)

 because Counter-Defendant resides in this State and/or is operating, conducting,

 engaging in, or carrying on a business or business venture in this state. Upon

 information and belief, Counter-Defendant primarily does business and has

 sufficient contacts within the Middle District of Florida.

            10.         Counter-Defendant has availed itself to this Court in that, inter alia,

 it has filed the lawsuit The Beauties and the Brands, LLC v. The Blush Bar Tampa,

 LLC, et. al., Case No. 8:23-cv-821, in the Middle District of Florida seeking the

 protections of this Court (the “Lawsuit”).

            11.         Venue is proper in this District under 28 U.S.C. §1391(b)(1) because

 Counter-Defendant resides within the Middle District of Florida.



                                                                       Page 4
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 5 of 54 PageID 770




            12.         Venue is proper in this Division under Local Rule 1.04(a) and (b)

 because the county with which this action is most directly connected is

 Hillsborough County.

                                                 FACTUAL BACKGROUND

 I.         Counter-Plaintiff: Blush Bar

            13.         Blush Bar operates a spa and beauty care business in Tampa, Florida

 that provides facial treatment, body care, and beauty care services.

            14.         Blush Bar began offering one-on-one mentoring sessions to aspiring

 estheticians and other individuals in the spa and skin care industry to help coach

 them in the business and marketing side of the industry.

            15.         In 2023, Blush Bar used the phrase BEAUTY & THE BRAND with

 advertising its one-on-one mentoring sessions. It is this use of BEAUTY & THE

 BRAND which gave rise to Counter-Defendant filing the Lawsuit against Blush

 Bar.

            16.         Blush Bar used the phrase BEAUTY & THE BRAND in good faith

 because it was previously used on several occasions by Blush Bar’s owner, Ms.

 Aicha Yoder, in connection with similar mentoring and group events for which Ms.

 Yoder offered to aspiring individuals.

            17.         For example, in or around April of 2017, Yoder began using the phrase

 BEAUTY & THE BRAND BOOTCAMP when advertising a bootcamp for mentoring

 sessions in Tampa, Florida.

                                                                        Page 5
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 6 of 54 PageID 771




            18.         Thereafter, and with the intent to continue using BEAUTY & THE

 BRAND, in or around March of 2018, Yoder used the phrase BYOB BEAUTY AND

 BRAND BRUNCH with advertising a brunch for coaching services to persons in

 the spa and skin care industries.

            19.         Again, in or around May of 2019, Yoder used BEAUTY AND BRAND

 with advertising a bootcamp for mentoring services.

            20.         In 2020, Yoder formed Blush Bar, but due to the COVID-19 pandemic,

 Blush Bar did not offer mentoring services with BEAUTY AND BRAND. However,

 Blush Bar had the intent to continuing using BEAUTY AND BRAND.

            21.         In or around January of 2021, Blush Bar resumed use of BEAUTY &

 THE BRAND with advertising a similar masterclass.

            22.         Yoder and Blush Bar’s use of the phrases, BEAUTY & THE BRAND

 BOOTCAMP, BYOB BEAUTY AND BRAND BRUNCH, BEAUTY AND BRAND,

 and BEAUTY & THE BRAND are the legal equivalents of the phrase, BEAUTY &

 THE BRAND.

            23.         Indeed, the phrases, BEAUTY & THE BRAND BOOTCAMP, BYOB

 BEAUTY AND BRAND BRUNCH, BEAUTY AND BRAND, and BEAUTY & THE

 BRAND create the same and continuing commercial impression of the phrase

 BEAUTY & THE BRAND such that relevant consumers consider them to all be the

 same mark.



                                                                       Page 6
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 7 of 54 PageID 772




            24.         Each version of the phrase, BEAUTY & THE BRAND BOOTCAMP,

 BYOB BEAUTY AND BRAND BRUNCH, BEAUTY AND BRAND, and BEAUTY &

 THE BRAND are not materially different, nor do they alter the character or

 commercial impression of the phrase, BEAUTY & THE BRAND.

            25.         By advertising BEAUTY & THE BRAND with mentoring-related

 services, Yoder and Blush Bar began developing Florida common law rights to use

 “BEAUTY & THE BRAND” in good faith with such services.

 II.        Counter-Defendant: The Beauties and The Brands, LLC

            26.         Upon information and belief, formed in January 2021, Counter-

 Defendant is engaged in providing opportunities for start-ups to grow their brand.

            27.         Upon information and belief, Counter-Defendant has alleged to put

 on “vision board” parties to help start-ups build their brand.

            28.         Upon information and belief, Counter-Defendant has little-to-no

 sales to show for these vision board parties it claims to host.

            29.         Counter-Defendant has alleged that it markets and promotes the

 Subject Mark through social media and magazines.

            30.         Counter-Defendant, however, only has around 949 followers on

 Instagram, has little social media reach, and the last post on this Instagram

 account is from February 17, 2021. A true and correct copy of Counter-Defendant’s

 Instagram account is shown below.



                                                                        Page 7
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 8 of 54 PageID 773




            31.         Accordingly, upon information and belief, Counter-Defendant has de

 minimis exposure and reach on social media channels.


                                                                       Page 8
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 9 of 54 PageID 774




 III.       The Subject Mark’s Lack of Distinctiveness

            32.         Counter-Defendant’s Subject Mark is generic of the services provided:

 helping individuals to build a brand.

            33.         Indeed, Counter-Defendant targets individuals looking to learn on

 how to build their brand, and Counter-Defendant refers to these individuals as

 “beauties.” A true and correct copy of one of Counter-Defendant’s Instagram posts

 referring to her potential customers as “beauties” is shown below:




                                                   Intentionally Left Blank




                                                                       Page 9
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 10 of 54 PageID 775




            34.         Upon information and belief, Counter-Defendant’s relevant public

 and target audience identify themselves as “beauties.”




                                                                      Page 10
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 11 of 54 PageID 776




            35.         As a result, Counter-Defendant is using the Subject Mark to attract

 these so-called “beauties” to attend Counter-Defendant’s vision board parties in

 order to help these “beauties” build their “brands.”

            36.         Alternatively, Counter-Defendant uses the Subject Mark descriptively

 because Counter-Defendant targets “beauties with a brand.” Indeed, Counter-

 Defendant’s use of the Subject Mark is merely descriptive of the function, features,

 purposes, uses, qualities, and/or characteristics of the services provided by

 Counter-Defendant.

            37.         The primary significance of the Subject Mark to the relevant public is

 the category of services provided under the Subject Mark: helping individuals build

 their brands.

            38.         Thus, Counter-Defendant’s use of the Subject Mark is a generic

 and/or merely descriptive (without secondary meaning) designation for the brand

 building services offered by Counter-Defendant.

            39.         Upon information and belief, third-party usage of similar variations

 of “beauties” and “brands” and similar terms exist in abundance.

            40.         Upon information and belief, term(s) comprising the word “beauties”

 and/or “brands” are commonly used in the beauty-related services and in the

 brand-building services to describe products and services in generic or merely

 descriptive contexts, and such terms including “beauties” and “brand” have been



                                                                       Page 11
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 12 of 54 PageID 777




 widely and extensively used by third parties across the entire spectrum of beauty

 and brand services.

            41.         Upon information and belief, this third-party usage extends to other

 individuals and/or businesses describing their services by using the same or

 similar words of “beauties” and “brand.”

            42.         Upon information and belief, third parties offer and sell competing or

 related products or services that use “beauties” and “brand,” or variations thereof,

 without any restrictions, enforcement efforts, or quality control by the Counter-

 Defendant.

            43.         Upon information and belief, Counter-Defendant engages in minimal

 promotion of the Subject Mark.

            44.         Upon information and belief, Counter-Defendant’s Subject Mark has

 received de minimis media coverage.

            45.         Upon information and belief, Counter-Defendant has merely offered

 its services on very few and sporadic occasions.

            46.         Upon information and belief, Counter-Defendant’s sale of services in

 connection with Subject Mark are low.

            47.         Moreover, Counter-Defendant has not garnered substantial sales

 from its services provided under the Subject Mark due to its inconsistent

 promotion and sporadic use of the Subject Mark.



                                                                       Page 12
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 13 of 54 PageID 778




            48.         Upon information and belief, Counter-Defendant does not sell any

 product that is labeled “BEAUTIES AND THE BRAND.”

            49.         As a result, Counter-Defendant use of the Subject Mark is not

 inherently distinct in that it does not have secondary meaning.

            50.         As a result, Counter-Defendant has not created any substantial

 goodwill in connection with the Subject Mark, nor has Counter-Defendant

 developed any significant brand recognition of the Subject Mark.

 IV.        Counter-Defendant’s U.S. Trademark Application for the Subject
            Mark

            51.         On January 27, 2021, Counter-Defendant filed a federal trademark

 application through the United States Patent and Trademark Office for the phrase,

 “THE BEAUTIES AND THE BRANDS” (the “January 27, 2021 Application”).

            52.         A true and accurate copy of the January 27, 2021 Application is

 attached hereto and incorporated herein as Exhibit “1”.

            53.          In this trademark application, Counter-Defendant claimed that

 January 1, 2019, was the first date that Counter-Defendant started using “THE

 BEAUTIES AND THE BRANDS” mark (“Counter-Defendant’s Mark”) in

 commerce. A true and correct copy of the federal trademark registration for THE

 BEAUTIES AND THE BRANDS with the listed first use in commerce date is shown

 below.




                                                                       Page 13
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 14 of 54 PageID 779




            54.         However, prior to filing the January 27, 2021 Application, Counter-

 Defendant was aware that the Blush Bar had advertised specific services using

 BEAUTY & THE BRAND or variations thereof.

            55.         For example, on October 1, 2019, Aicha Yoder, under the Facebook

 name Aicha Ayana, created a Facebook post to invite women to speak at a “Beauty

 and Brand type event for Blush.” A true and correct copy of the Facebook post is

 shown below:




                                                                       Page 14
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 15 of 54 PageID 780




            56.         On that same day, October 1, 2019, Terika Haynes, the listed owner

 and manager of Counter-Defendant, Facebook messaged Yoder looking to take

 part in the event held by the Blush Bar under the Subject Mark. A true and correct

 copy of the Facebook message is listed below:




                                                                       Page 15
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 16 of 54 PageID 781




            57.         Accordingly, as of this date, October 1, 2019, Terika Haynes knew or

 should have known of Aicha Yoder’s use of BEAUTY & THE BRAND (or variations

 thereof) with mentoring-related services.



                                                                       Page 16
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 17 of 54 PageID 782




            58.         Counter-Defendant believed that if it filed a federal trademark

 application for Counter-Defendant’s Subject Mark, Counter-Defendant could

 override the Blush Bar’s rights to BEAUTY & THE BRAND, even though the Blush

 Bar began using BEAUTY & THE BRAND (or variations thereof) before Counter-

 Defendant.

            59.         As part of the January 27, 2021 Application, Counter-Defendant

 swore, under penalty of perjury, that “[t]o the best of the signatory’s knowledge

 and belief, no other persons, except, if applicable, concurrent users, have the right

 to use the mark in commerce, either in the identical form or in such near resemble

 as to be likely, when used on or in connection with the goods/services of such other

 persons, to cause confusion or mistake, or to deceive.”

            60.         When Counter-Defendant swore to this statement on January 27,

 2021, Counter-Defendant knew the Blush Bar was advertising using BEAUTY &

 THE BRAND or variations thereof.

            61.         When Counter-Defendant swore to this statement on January 27,

 2021, Counter-Defendant knew the Blush Bar had previously advertised using

 BEAUTY & THE BRAND or variations thereof.

            62.         When Counter-Defendant swore to this statement on January 27,

 2021, Counter-Defendant believed BEAUTY & THE BRAND and Counter-

 Defendant’s Subject Mark were substantially similar.



                                                                       Page 17
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 18 of 54 PageID 783




            63.         When Counter-Defendant swore to this statement on January 27,

 2021, Counter-Defendant knew the Blush Bar believed BEAUTY & THE BRAND

 and Counter-Defendant’s Subject Mark were substantially similar.

            64.         When Counter-Defendant swore to this statement on January 27,

 2021, Counter-Defendant believed the Blush Bar could obtain a federal trademark

 registration for the Subject Mark.

            65.         Counter-Defendant submitted the January 27, 2021 Application in an

 attempt to trump the Blush Bar’s common law rights to use BEAUTY & THE

 BRAND in Florida.

            66.         However, upon information and belief, Counter-Defendant failed to

 use all services stated in the January 27, 2021 Application at the time it filed its

 Section 1(a) trademark application.

            67.         Specifically, in Counter-Defendant’s January 27, 2021 Application,

 Counter-Defendant listed the following services as services that were presently

 being offered under the Subject Mark by Counter-Defendant as early as January 1,

 2019:

             1. Arranging and conducting of educational conferences in the field of

                 building a brand;

             2. Conducting workshops and seminars in personal awareness;

             3. Conducting workshops and seminars in self awareness;



                                                                       Page 18
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 19 of 54 PageID 784




             4. Conducting educational exhibitions in the nature of workshops,

                 webinars, and seminars in the field of building a brand;

             5. Educational                   services,            namely,              conducting                 seminars,               lectures,

                 teleseminars, teleclasses, and workshops in personal awareness; and

             6. Special event planning for social entertainment purpose.

            68.         Upon information and belief, as of the date Counter-Defendant filed

 its Section 1(a) trademark application, Counter-Defendant had not used all the

 services listed in its January 27, 2021 Application.

            69.         Upon information and belief, Counter-Defendant does not currently

 offer or provide all of the services listed under its Section 1(a) trademark

 application.

            70.         Upon information and belief, Counter-Defendant’s use of the Subject

 Mark only rises to the level of mere token use because of Counter-Defendant’s

 insufficient use of the Subject Mark in connection with all stated services and does

 not suffice to establish actual consistent use in commerce.



                                                   Intentionally Left Blank




                                                                       Page 19
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 20 of 54 PageID 785




 V.         The Controversy Between the Parties

            71.         On April 14, 2023, Counter-Defendant filed a lawsuit 1 demanding

 Blush Bar be enjoined from using BEAUTY & THE BRAND and claiming Blush

 Bar’s use of BEAUTY & THE BRAND infringed Counter-Defendant’s alleged

 federal and Florida service mark rights in THE BEAUTIES AND THE BRANDS.

            72.         Blush Bar denies that its use of BEAUTY & THE BRAND (or variations

 or components thereof) infringe, unfair competes with, dilutes, or violates

 Counter-Defendant’s alleged rights in THE BEAUTIES AND THE BRANDS, or any

 other variations that are used by the Counter-Defendant.

            73.         Blush Bar denies that it has engaged in any wrongful conduct.

            74.         As stated further herein, the beauty-service industry uses “beauty”

 and/or “beauties” as a standard reference to describe services offered or to use in

 generic context.

            75.         Similarly, it is common for business and/or brand mentoring services

 to use “brands” to describe services offered or to use in generic contexts.

            76.         Counter-Defendant’s allegations of trademark infringement, false

 designation of origin, unfair competition, and violation of FDUPTA adversely

 affect Blush Bar and will continue to adversely affect it because it will be in doubt



 1
   Counter-Defendant filed the lawsuit (the “Lawsuit”) The Beauties and the Brands, LLC v. The
 Blush Bar Tampa, LLC, et. al., Case No. 8:23-cv-821, alleging federal and Florida common law
 trademark infringement, false designation of origin, and unfair competition, and violation of the
 Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”). A copy of Counter-Defendant’s
 Amended Complaint [DE 32] is attached hereto as Exhibit 2.
                                                                      Page 20
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 21 of 54 PageID 786




 as to its rights to continue using BEAUTY & THE BRAND or variations or

 components thereof on and in connection with its services in Florida and

 elsewhere, until this Court makes a determination as to Blush Bar’s rights, and as

 to the alleged rights that have been asserted by the Counter-Defendant in its

 communications with Blush Bar and its Lawsuit.

            77.         Counter-Defendant’s allegations of trademark infringement and

 threat of litigation in the Lawsuit have created a real, reasonable, and immediate

 apprehension on the part of Blush Bar that Counter-Defendant will pursue its

 Lawsuit asserting claims against Blush Bar for trademark infringement, false

 designation of origin, and unfair competition.

            78.         The parties are uncertain as to the legal effect of Counter-Plaintiff’s

 pre-existing use of BEAUTY & THE BRAND, and what legal implications that has

 on Counter-Defendant’s Subject Mark. Moreover, Blush Bar is uncertain as to the

 legal effect of Counter-Defendant’s generic mark and/or merely descriptive mark

 without secondary meaning, and whether the Subject Mark is protectable and

 enforceable against Blush Bar under law.

            79.         Counter-Defendant’s allegations of trademark infringement, false

 designation of origin and unfair competition create an actual and justiciable

 controversy regarding Blush Bar’s rights to use BEAUTY & THE BRAND or

 variations or components thereof. In order to resolve the issues raised by Counter-

 Defendant and to afford relief from the uncertainty and controversy that Counter-

                                                                       Page 21
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 22 of 54 PageID 787




 Defendant’s allegations have created, Blush Bar is entitled to a declaratory

 judgment under 28 U.S.C. §§ 2201 et. seq.

            80.         Declaratory relief here would clarify and settle the legal issues in

 dispute and would afford relief from the uncertainty, insecurity and controversy

 giving rise to this action.

                         COUNT ONE
                 DECLARATORY JUDGMENT OF
                NON-VIOLATION OF 15 U.S.C. § 1114
      (DUE TO COUNTER-DEFENDANT’S LACK OF PROTECTABLE
    TRADEMARK RIGHTS – FAILURE TO FUNCTION AS A MARK OR
                INVALID BECAUSE DESCRIPTIVE)

            81.         The allegations described in paragraphs 1 through 80, above, are

   hereby reincorporated and realleged herein.

            82.         Counter-Plaintiff seeks a declaration of non-violation of 15 U.S.C. §

 1114(1), because Counter-Defendant’s THE BEAUTIES AND THE BRANDS mark

 fails to function as a service mark or is merely descriptive with respect to the

 services offered of assisting people to build a brand.

            83.         The Subject mark is merely descriptive because it describes the

 Counter-Defendant’s goods or services.

            84.         Counter-Defendant did not and cannot establish protectable rights in

 THE BEAUTIES AND THE BRANDS or variations thereof because THE

 BEAUTIES AND THE BRANDS fails to function as a mark or merely describes the

 characteristics of the services and/or individuals who speak on their respective

 brands in connection with the mark’s alleged use.
                                                                      Page 22
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 23 of 54 PageID 788




            85.         The Subject Mark is considered descriptive because it describes a

 quality, characteristic, function, feature, purpose, or use of the specified services.

             86. THE BEAUTIES AND THE BRANDS mark is used by Counter-

 Defendant for services identified as: “Arranging and conducting of educational

 conferences in the field of building a brand;” and “conducting educational

 exhibitions in the nature of workshops, webinars, and seminars in the field of

 building a brand.”

             87.        Counter-Defendant’s THE BEAUTIES AND THE BRANDS mark

 merely describes the individuals who speak at the conferences and/or workshops

 “in the field of building a brand,” as alleged in Counter-Defendant’s services

 provided in connection with its Mark in its trademark registration.

             88. Therefore, as applied to Counter-Defendant’s services, THE

 BEAUTIES AND THE BRANDS mark, taken as a whole, is merely descriptive of a

 characteristic of Counter-Defendant’s services and the Counter-Defendant itself.

             89. Moreover, many other similar third parties exist containing the terms

 “beauties” and “brand” used together, and/or variations thereof, which is a

 consideration that is relevant to the determination of descriptiveness or

 genericness.

             90. Another consideration that is relevant to the determination of

 descriptiveness or genericness is the dictionary listing of a term. According to the

 Merriam-Webster Dictionary, the term “brand” is defined as follows: “a public

                                                                      Page 23
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 24 of 54 PageID 789




 image, reputation, or identity conceived of as something to be marketed or

 promoted.” See https://www.merriam-webster.com/dictionary/brand

             91.        Furthermore, the “THE BEAUTIES AND THE BRANDS” mark

 combines two or more descriptive terms — “beauties” and “brand.” Significantly,

 this combination of descriptive terms does not evoke a new and unique commercial

 impression, and does not create a unitary mark with a nondescriptive meaning that

 has an incongruous meaning as applied to the services of the Subject Mark —

 “building a brand.”

             92.        Also, the term “beauties” is merely descriptive because it identifies a

 group to whom the Counter-Defendant directs its goods or services.

             93.        As applied to THE BEAUTIES AND THE BRANDS, Counter-

 Defendant uses the term “Beauties” to identify the group of individuals to whom

 Counter-Defendant directs its services to. Consequently, these individuals, who

 the Counter-Defendant labels as “beauties” are the individuals who attend these

 “brand building” events.

             94.        Moreover, the mark, THE BEAUTIES AND THE BRANDS, merely

 identifies and describes the function or purpose of the claimed service of the Mark:

 “Arranging and conducting of educational conferences in the field of building a

 brand.”

             95.        Additionally, Counter-Defendant’s THE BEAUTIES AND THE

 BRANDS mark lacks any secondary meaning, and/or has not acquired

                                                                      Page 24
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 25 of 54 PageID 790




 distinctiveness at any time, much less prior to when Counter-Defendant alleges

 Blush Bar used BEAUTY & THE BRAND.

               96. Upon information and belief, THE BEAUTIES AND THE BRANDS

 mark has received de minimis media coverage and Counter-Defendant has done

 little to promote it and/or use THE BEAUTIES AND THE BRANDS mark in

 commerce.

               97. Upon information and belief, Counter-Defendant has relatively little-

 to-no-sales regarding any services provided in connection with its THE BEAUTIES

 AND THE BRANDS mark.

               98. Counter-Defendant cannot establish that THE BEAUTIES AND THE

 BRANDS mark has achieved the requisite secondary meaning among consumers

 who purchase tickets and/or sign up for the alleged services Counter-Defendant

 offers under THE BEAUTIES AND THE BRANDS mark.

               99. Counter-Defendant’s use of THE BEAUTIES AND THE BRANDS

 mark also does not identify the source of the product. Instead, it identifies the

 primary characteristics of the alleged services offered under the mark.

               100. Therefore, Counter-Defendant’s THE BEAUTIES AND THE BRANDS

 mark is unprotectable and unenforceable under federal law because it is invalid,

 unenforceable, and/or unprotectable, and was invalid, unenforceable, and/or

 unprotectable at the time Counter-Defendant alleges that Counter-Plaintiff first

 used BEAUTY & THE BRAND.

                                                                      Page 25
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 26 of 54 PageID 791




            101.        Accordingly, Counter-Plaintiff’s use of the Subject Mark does not

 violate any provision of 15 U.S.C. § 1114(1).

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC, requests

 that it be granted the relief sought in its Prayer for Relief below.

                         COUNT TWO
                 DECLARATORY JUDGMENT OF
                NON-VIOLATION OF 15 U.S.C. § 1114
      (DUE TO COUNTER-DEFENDANT’S LACK OF PROTECTABLE
    TRADEMARK RIGHTS – FAILURE TO FUNCTION AS A MARK OR
                  INVALID BECAUSE GENERIC)

            102. The allegations described in paragraphs 1 through 80, above, are

 hereby reincorporated and realleged herein.

            103. Counter-Plaintiff seeks a declaration of non-violation of 15 U.S.C. §

 1114(1) because Counter-Defendant’s THE BEAUTIES AND THE BRANDS

 registered trademark fails to function as a mark or is generic with respect to the

 services offered of assisting people to build a brand.

                104.                Counter-Defendant’s THE BEAUTIES AND THE BRANDS

 mark is a generic designation for the services offered by Counter-Defendant.

                105.                The terms “beauties” and “brands” are generic terms because

 the relevant purchasing public understands these terms as the common or class

 name for the goods or services.

                106.                The Subject Mark is generic because its primary significance to

 the relevant public is the class or category of goods or services on or in connection

 with which it is used.
                                                                      Page 26
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 27 of 54 PageID 792




                107.                THE BEAUTIES AND THE BRANDS mark is used for services

 of helping people build a brand.

                108.                According to the Merriam-Webster Dictionary, the term

 “brand” is defined as follows: “a public image, reputation, or identity conceived of

 as something to be marketed or promoted.” See https://www.merriam-

 webster.com/dictionary/brand.

                109.                The relevant public understands the term “brands” from the

 Subject Mark “THE BEAUTIES AND THE BRANDS” to be generic for the claimed

 service of the mark: helping people build a brand. Further, the relevant public

 understands the term “brands” from the Subject Mark “THE BEAUTIES AND THE

 BRANDS” to be generic for the claimed service of the mark: “Arranging and

 conducting of educational conferences in the field of building a brand.”

                110.                Moreover, many other similar third parties exist containing the

 terms “beauties” and “brands” used together, and/or variations thereof, which is a

 consideration that is relevant to the determination of descriptiveness or

 genericness.

                111. Therefore, as applied to Counter-Defendant’s services, THE

 BEAUTIES AND THE BRANDS mark is generic because the relevant public

 understands the terms contained in the Subject Mark to refer to the genus of

 services offered with the Subject Mark.



                                                                      Page 27
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 28 of 54 PageID 793




                112. Consequently, Counter-Defendant’s THE BEAUTIES AND THE

 BRANDS mark is unprotectable under federal law because it is invalid,

 unenforceable, and/or unprotectable.

                113. Accordingly, Counter-Plaintiff does not violate any provision of 15

 U.S.C. § 1114(1).

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC, requests

 that it be granted the relief sought in its Prayer for Relief below.

                         COUNT THREE
                  DECLARATORY JUDGMENT OF
                 NON-VIOLATION OF 15 U.S.C. § 1125
       (DUE TO COUNTER-DEFENDANT’S LACK OF PROTECTABLE
      TRADEMARK RIGHTS-FAILURE TO FUNCTION AS A MARK OR
                 INVALID BECAUSE DESCRIPTIVE)

            114.        The allegations described in paragraphs 1 through 80, above, are

 hereby reincorporated and realleged herein.

            115.        Counter-Plaintiff seeks a declaration of non-violation of Section 43 of

 the Lanham Act, 15 U.S.C. § 1125, because Counter-Defendant’s THE BEAUTIES

 AND THE BRANDS mark fails to function as a service mark or is merely

 descriptive with respect to the services offered of assisting people to build a brand.

            116.        The Subject mark is merely descriptive because it describes the

 Counter-Defendant’s goods or services.

            117.        Counter-Defendant did not and cannot establish protectable rights in

 THE BEAUTIES AND THE BRANDS mark or variations thereof because THE

 BEAUTIES AND THE BRANDS mark fails to function as a mark or merely
                                                                      Page 28
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 29 of 54 PageID 794




 describes the characteristics of the individuals who speak on their respective

 brands in connection with the mark’s alleged use.

            118.        The Subject Mark is considered descriptive because it describes a

 quality, characteristic, function, feature, purpose, or use of the specified services.

             119. THE BEAUTIES AND THE BRANDS mark is used for services

 identified as: “Arranging and conducting of educational conferences in the field of

 building a brand;” and “conducting educational exhibitions in the nature of

 workshops, webinars, and seminars in the field of building a brand.”

             120. Counter-Defendant’s THE BEAUTIES AND THE BRANDS mark

 merely describes the individuals who speak at the conferences and/or workshops

 “in the field of building a brand,” as alleged in Counter-Defendant’s services

 provided in connection with the Subject Mark.

             121. Therefore, as applied to Counter-Defendant’s services, THE

 BEAUTIES AND THE BRANDS mark, taken as a whole, is merely descriptive of a

 characteristic of Counter-Defendant’s services and the Counter-Defendant itself.

             122. Moreover, many other similar third parties exist containing the terms

 “beauties” and “brand” used together, and/or variations thereof, which is a

 consideration that is relevant to the determination of descriptiveness or

 genericness.

             123. Another consideration that is relevant to the determination of

 descriptiveness or genericness is the dictionary listing of a term. According to the

                                                                      Page 29
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 30 of 54 PageID 795




 Merriam-Webster Dictionary, the term “brand” is defined as follows: “a public

 image, reputation, or identity conceived of as something to be marketed or

 promoted.” See https://www.merriam-webster.com/dictionary/brand

             124. Furthermore, the “THE BEAUTIES AND THE BRANDS” mark

 combines two or more descriptive terms — “beauties” and “brand.” Significantly,

 this combination of descriptive terms does not evoke a new and unique commercial

 impression, and does not create a unitary mark with a nondescriptive meaning that

 has an incongruous meaning as applied to the services of the Subject Mark —

 “building a brand.”

             125. Also, the term “beauties” is merely descriptive because it identifies a

 group to whom the Counter-Defendant directs its goods or services.

             126. As applied to THE BEAUTIES AND THE BRANDS, Counter-

 Defendant uses the term “beauties” to identify the group of individuals to whom

 Counter-Defendant directs its services to. Consequently, these individuals, who

 the Counter-Defendant labels as “beauties” are the individuals who attend these

 “brand building” events.

             127. The mark, THE BEAUTIES AND THE BRANDS, merely identifies and

 describes the function or purpose of the claimed service of the Subject Mark:

 helping people build a brand. Moreover, the Subject Mark merely identifies and

 describes the function or purpose of the claimed service: “Arranging and

 conducting of educational conferences in the field of building a brand.”

                                                                      Page 30
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 31 of 54 PageID 796




             128. Additionally, Counter-Defendant’s THE BEAUTIES AND THE

 BRANDS mark lacks any secondary meaning, and/or has not acquired

 distinctiveness at any time, much less prior to when Counter-Defendant alleges

 Counter-Plaintiff used BEAUTY & THE BRAND.

               129. Upon information and belief, THE BEAUTIES AND THE BRANDS

 mark has received de minimis media coverage and Counter-Defendant has done

 little to promote it and/or use THE BEAUTIES AND THE BRANDS mark in

 commerce.

               130. Upon information and belief, Counter-Defendant has relatively little-

 to-no-sales regarding any services provided in connection with its THE BEAUTIES

 AND THE BRANDS mark.

               131. Counter-Defendant cannot establish that THE BEAUTIES AND THE

 BRANDS mark has achieved the requisite secondary meaning among consumers

 who purchase tickets and/or sign up for the alleged services Counter-Defendant

 offers under THE BEAUTIES AND THE BRANDS mark.

               132. Counter-Defendant’s use of THE BEAUTIES AND THE BRANDS

 mark also does not identify the source of the product or services. Instead, it

 identifies the primary characteristics of the alleged services offered under the

 mark.

               133. Therefore, Counter-Defendant’s THE BEAUTIES AND THE BRANDS

 mark is unprotectable and unenforceable under federal law because it is invalid,

                                                                       Page 31
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 32 of 54 PageID 797




 unenforceable, and/or unprotectable, and was invalid, unenforceable, and/or

 unprotectable at the time Counter-Defendant alleges that Counter-Plaintiff first

 used BEAUTY & THE BRAND.

               134. Accordingly, Counter-Plaintiff’s use of the Subject Mark does not

 violate any provision of 15 U.S.C. § 1125.

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC, requests

 that it be granted the relief sought in its Prayer for Relief below.

                        COUNT FOUR
                 DECLARATORY JUDGMENT OF
                NON-VIOLATION OF 15 U.S.C. § 1125
      (DUE TO COUNTER-DEFENDANT’S LACK OF PROTECTABLE
    TRADEMARK RIGHTS – FAILURE TO FUNCTION AS A MARK OR
                  INVALID BECAUSE GENERIC)

                135.                The allegations described in paragraphs 1 through 80, above,

 are hereby reincorporated and realleged herein.

                136.                Counter-Plaintiff seeks a declaration of non-violation of Section

 43 of the Lanham Act, 15 U.S.C. § 1125 because Counter-Defendant’s THE

 BEAUTIES AND THE BRANDS service mark fails to function as a mark or is

 generic with respect to the services offered of assisting people to build a brand.

                137.                Counter-Defendant’s THE BEAUTIES AND THE BRANDS

 mark is a generic designation for the services offered by Counter-Defendant.

                138.                The terms “beauties” and “brands” are generic terms because

 the relevant purchasing public understands these terms as the common or class

 name for the goods or services.
                                                                      Page 32
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 33 of 54 PageID 798




                139.                The Subject Mark is generic because its primary significance to

 the relevant public is the class or category of goods or services on or in connection

 with which it is used.

                140.                THE BEAUTIES AND THE BRANDS mark is used for services

 of helping people build a brand.

                141. According to the Merriam-Webster Dictionary, the term “brand” is

 defined as follows: “a public image, reputation, or identity conceived of as

 something               to      be       marketed               or      promoted.”                 See        https://www.merriam-

 webster.com/dictionary/brand.

                142.                The relevant public understands the term “brands” from the

 Subject Mark “THE BEAUTIES AND THE BRANDS” to be generic for the service

 offered in connection with the mark: helping people build a brand. Further, the

 relevant public understands the term “brands” from the Subject Mark “THE

 BEAUTIES AND THE BRANDS” to be generic for the claimed service of the mark:

 “Arranging and conducting of educational conferences in the field of building a

 brand.”

                143.                Moreover, many other similar third parties exist containing the

 terms “beauty” and “brand” used together, and/or variations thereof, which is a

 consideration that is relevant to the determination of descriptiveness or

 genericness.



                                                                      Page 33
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 34 of 54 PageID 799




                144.                Therefore, as applied to Counter-Defendant’s services, THE

 BEAUTIES AND THE BRANDS mark is generic because the relevant public

 understands the terms contained in the Subject Mark to refer to the genus of

 services offered by the Subject Mark.

                145.                Consequently, Counter-Defendant’s THE BEAUTIES AND

 THE BRANDS mark is unprotectable under federal law because it is invalid,

 unenforceable, and/or unprotectable.

                146.                Accordingly, Counter-Plaintiff does not violate any provision of

 15 U.S.C. § 1125.

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC, requests

 that it be granted the relief sought in its Prayer for Relief below.

                          COUNT FIVE
                  DECLARATORY JUDGMENT OF
                NON-VIOLATION OF FLORIDA LAW
      (DUE TO COUNTER-DEFENDANT’S LACK OF PROTECTABLE
    TRADEMARK RIGHTS — FAILURE TO FUNCTION AS A MARK OR
                 INVALID BECAUSE DECRIPTIVE)

            147.        The allegations described in paragraphs 1 through 80, above, are

 hereby reincorporated and realleged herein.

               148. Counter-Plaintiff seeks a declaration of non-violation of Florida law

 because Counter-Defendant’s THE BEAUTIES AND THE BRANDS service mark

 fails to function as a mark or is merely descriptive with respect to the services

 offered of helping people build a brand.


                                                                      Page 34
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 35 of 54 PageID 800




               149. The Subject mark is merely descriptive because it describes the

 Counter-Defendant’s goods or services.

               150. Counter-Defendant did not and cannot establish protectable rights in

 THE BEAUTIES AND THE BRANDS mark or variations thereof because THE

 BEAUTIES AND THE BRANDS mark fails to function as a mark or merely

 describes the characteristics of the individuals who speak on their respective

 brands in connection with the mark’s alleged use.

                151. The Subject Mark is considered descriptive because it describes a

 quality, characteristic, function, feature, purpose, or use of the specified services.

                152.                THE BEAUTIES AND THE BRANDS mark is used for services

 identified as: “Arranging and conducting of educational conferences in the field of

 building a brand;” and “conducting educational exhibitions in the nature of

 workshops, webinars, and seminars in the field of building a brand.”

                153.                Counter-Defendant’s THE BEAUTIES AND THE BRANDS

 mark merely describes the individuals who speak at the educational conferences

 and/or workshops “in the field of building a brand,” as alleged in Counter-

 Defendant’s services provided in connection with its Subject Mark.

                154.                Therefore, as applied to Counter-Defendant’s services, THE

 BEAUTIES AND THE BRANDS mark, taken as a whole, is merely descriptive of a

 characteristic of Counter-Defendant’s services and the Counter-Defendant itself.



                                                                      Page 35
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 36 of 54 PageID 801




                155.                Moreover, many other similar third parties exist containing the

 terms “beauties” and “brand” used together, and/or variations thereof, which is a

 consideration that is relevant to the determination of descriptiveness or

 genericness.

                156.                Another consideration that is relevant to the determination of

 descriptiveness or genericness is the dictionary listing of a term. According to the

 Merriam-Webster Dictionary, the term “brand” is defined as follows: “a public

 image, reputation, or identity conceived of as something to be marketed or

 promoted.” See https://www.merriam-webster.com/dictionary/brand

                157.Furthermore, the Subject mark combines two or more descriptive

 terms — “beauties” and “brand.” Significantly, this combination of descriptive

 terms does not evoke a new and unique commercial impression, and does not

 create a unitary mark with a nondescriptive meaning that has an incongruous

 meaning as applied to the services of the Subject mark — building a brand.

                158.                Also, the term “beauties” is merely descriptive because it

 identifies a group to whom the Counter-Defendant directs its goods or services.

                159.                As applied to THE BEAUTIES AND THE BRANDS mark,

 Counter-Defendant uses the term “beauties” to identify the group of individuals to

 whom Counter-Defendant directs its services to. Consequently, these individuals,

 who the Counter-Defendant labels as “beauties” are the individuals who attend

 these “brand building” events.

                                                                      Page 36
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 37 of 54 PageID 802




                160.                Moreover, the Subject Mark merely identifies and describes the

 function or purpose of the claimed service of the Mark: helping people build a

 brand.

                161. Moreover, Counter-Defendant’s THE BEAUTIES AND THE BRANDS

 mark lacks any secondary meaning, and/or has not acquired distinctiveness at any

 time much less prior to Counter-Defendant’s allegations of Counter-Plaintiff’s first

 use of BEAUTY & THE BRAND or variations thereof.

                162.                Upon information and belief, THE BEAUTIES AND THE

 BRANDS has received de minimis media coverage and Counter-Defendant has

 done little to promote it and/or use THE BEAUTIES AND THE BRANDS mark.

                163.                Upon information and belief, Counter-Defendant has relatively

 little-to-no-sales regarding any services provided in connection with its THE

 BEAUTIES AND THE BRANDS mark.

                164.                Counter-Defendant cannot establish that THE BEAUTIES AND

 THE BRANDS mark has achieved the requisite secondary meaning among

 consumers who purchase tickets and/or sign up for the alleged services Counter-

 Defendant offers under THE BEAUTIES AND THE BRANDS mark.

                165.                Counter-Defendant’s use of THE BEAUTIES AND THE

 BRANDS mark also does not identify the source of the product or services. Instead,

 it identifies the primary characteristics of the alleged services offered under the

 mark.

                                                                      Page 37
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 38 of 54 PageID 803




                166.                Therefore, Counter-Defendant’s THE BEAUTIES AND THE

 BRANDS mark is unprotectable under Florida law because it is invalid,

 unenforceable, and/or unprotectable, and was invalid, unenforceable, and/or

 unprotectable at the time Counter-Plaintiff first used the Subject Mark.

                167.                Accordingly, Counter-Plaintiff’s use of the Subject Mark does

 not violate any Florida statutory or common law.

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC, requests

 that it be granted the relief sought in its Prayer for Relief below.

                        COUNT SIX
               DECLARATORY JUDGMENT OF
              NON-VIOLATION OF FLORIDA LAW
    (DUE TO COUNTER-DEFENDANT’S LACK OF PROTECTABLE
 COMMON LAW TRADEMARK RIGHTS — FAILURE TO FUNCTION AS
           A MARK OR INVALID BECAUSE GENERIC)

                168.                The allegations described in paragraphs 1 through 80, above,

 are hereby reincorporated and realleged herein.

                169.                Counter-Plaintiff seeks a declaration of non-violation of Florida

 law because Counter-Defendant’s THE BEAUTIES AND THE BRANDS service

 mark fails to function as a mark or is generic with respect to the services offered of

 helping people build a brand.

                170.                Counter-Defendant’s THE BEAUTIES AND THE BRANDS

 mark is a generic designation for the services offered by Counter-Defendant.




                                                                      Page 38
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 39 of 54 PageID 804




                171. The terms “beauties” and “brands” are generic terms because the

 relevant purchasing public understands these terms as the common or class name

 for the goods or services.

                172.                The Subject Mark is generic because its primary significance to

 the relevant public is the class or category of goods or services on or in connection

 with which it is used.

                173.                THE BEAUTIES AND THE BRANDS mark is used for services

 of helping people build a brand.

                174.                According to the Merriam-Webster Dictionary, the term

 “brand” is defined as follows: “a public image, reputation, or identity conceived of

 as something to be marketed or promoted.” See https://www.merriam-

 webster.com/dictionary/brand.

               175. The relevant public understands the term “brands” from the Subject

 Mark “THE BEAUTIES AND THE BRANDS” to be generic for the claimed service

 of the mark: helping people build a brand. Further, the relevant public understand

 the term “brands” from the Subject Mark to be generic of the claimed service:

 “Arranging and conducting of educational conferences in the field of building a

 brand.”

               176. Moreover, many other similar third parties exist containing the terms

 “beauties” and “brand” used together, and/or variations thereof, which is a



                                                                      Page 39
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 40 of 54 PageID 805




 consideration that is relevant to the determination of descriptiveness or

 genericness.

               177. Therefore, as applied to Counter-Defendant’s services, THE

 BEAUTIES AND THE BRANDS mark is generic because the relevant public

 understands the terms contained in the Subject Mark to refer to the genus of

 services claimed in the Subject Mark’s application.

               178. Consequently, Counter-Defendant’s THE BEAUTIES AND THE

 BRANDS mark is unprotectable under Florida law because it is invalid,

 unenforceable, and/or unprotectable, and was invalid, unenforceable, and/or

 unprotectable at the time Counter-Plaintiff first used the Subject Mark.

               179. Accordingly, Counter-Plaintiff’s use of the Subject Mark does not

 violate any Florida statutory or common law.

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC, requests

 that it be granted the relief sought in its Prayer for Relief below.

                                COUNT SEVEN
      15 U.S.C. §§ 1052(e)(1), 1064 and 1119 – CANCELLATION OF U.S.
                       REGISTRATION NO. 6,618,721
             (Merely Descriptive and not Inherently Distinctive)

               180. The allegations described in paragraphs 1 through 80, above, are

 hereby reincorporated and realleged herein.

               181. Counter-Plaintiff seeks the cancellation of U.S. Registration 6,618,721

 for all of the claimed services pursuant to 15 U.S.C. Sections 1052(e)(1), 1064 and

 1119 for the reasons stated herein.
                                                                      Page 40
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 41 of 54 PageID 806




               182. Counter-Defendant’s THE BEAUTIES AND THE BRANDS mark is

 merely descriptive of the services covered by U.S. Registration 6,618,721 and

 lacked acquired distinctiveness as of the registration date.

               183. The Subject mark is merely descriptive because it describes the

 Counter-Defendant’s goods or services.

               184. The Subject Mark is considered descriptive because it describes a

 quality, characteristic, function, feature, purpose, or use of the specified services.

               185. THE BEAUTIES AND THE BRANDS mark is used for services

 identified as: “Arranging and conducting of educational conferences in the field of

 building a brand.

               186. Counter-Defendant’s THE BEAUTIES AND THE BRANDS mark

 merely describes the individuals who speak at the educational conferences and/or

 workshops “in the field of building a brand,” as alleged in Counter-Defendant’s

 services provided in connection with its Mark in its trademark registration.

               187. Therefore, as applied to Counter-Defendant’s services, THE

 BEAUTIES AND THE BRANDS mark, taken as a whole, is merely descriptive of a

 characteristic of Counter-Defendant’s services and the Counter-Defendant itself.

               188. Moreover, many other similar third-party registrations exist

 containing the terms “beauties” and “brand” used together, and/or variations

 thereof, which is a consideration that is relevant to the determination of

 descriptiveness or genericness.

                                                                       Page 41
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 42 of 54 PageID 807




               189. Another consideration that is relevant to the determination of

 descriptiveness or genericness is the dictionary listing of a term. According to the

 Merriam-Webster Dictionary, the term “brand” is defined as follows: “a public

 image, reputation, or identity conceived of as something to be marketed or

 promoted.” See https://www.merriam-webster.com/dictionary/brand

               190. Furthermore, the Subject Mark combines two or more descriptive

 terms — “beauties” and “brand.” Significantly, this combination of descriptive

 terms does not evoke a new and unique commercial impression, and does not

 create a unitary mark with a nondescriptive meaning that has an incongruous

 meaning as applied to the services of the Subject Mark — building a brand.

               191. Also, the term “beauties” is merely descriptive because it identifies a

 group to whom the Counter-Defendant directs its goods or services.

               192. As applied to the Subject Mark, Counter-Defendant uses the term

 “beauties” to identify the group of individuals to whom Counter-Defendant directs

 its services to. Consequently, these individuals, who the Counter-Defendant labels

 as “beauties” are the individuals who attend these “brand building” events.

               193. The Subject Mark, THE BEAUTIES AND THE BRANDS, merely

 identifies and describes the function or purpose of the claimed service of the mark:

 helping people build a brand. Moreover, the Subject Mark merely identifies and

 describes the function or purpose of the claimed service of the mark: “Arranging

 and conducting of educational conferences in the field of building a brand.”

                                                                      Page 42
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 43 of 54 PageID 808




               194. Additionally, upon information and belief, Counter-Defendant has

 provided little-to-no services in connection with THE BEAUTIES AND THE

 BRANDS mark.

               195. Consequently, the consuming public associates the Subject Mark with

 the services covered by U.S. Registration 6,618,721, and the consuming public does

 not associate the Subject Mark with Counter-Defendant.

               196. Moreover, upon information and belief, Counter-Defendant has not

 used the mark for an extended period of time, nor has Counter-Defendant used the

 Subject Mark in a consistent manner that is beyond mere token use because

 Counter-Defendant’s use of the Subject Mark is sporadic.

               197. Upon information and belief, Counter-Defendant has not extensively

 promoted its services provided under the Subject Mark, nor has Counter-

 Defendant exerted any effort to promote a conscious connection between the

 Subject Mark and its business.

               198. Upon information and belief, the public does not recognize Counter-

 Defendant’s services by the name of the Subject Mark.

               199. Therefore, Counter-Defendant’s U.S. Registration 6,618,721 has not

 acquired any secondary meaning and is merely descriptive of the services covered

 by the registration—seminars with individuals labeled as “beauties” speaking

 about their respective “brands.”



                                                                      Page 43
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 44 of 54 PageID 809




               200.Consequently, as the Subject Mark has not acquired any secondary

 meaning and is merely descriptive, the trademark registration should be canceled.

               201. Pursuant to the Lanham Act, the Court has jurisdiction to order the

 USPTO to make appropriate entries on the Federal Register with respect to the

 cancellation of U.S. Registration 6,618,721 and Counter-Defendant’s inability to

 establish use in commerce in connection with the Mark.

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC, requests

 that it be granted the relief sought in its Prayer for Relief below.

                                    COUNT EIGHT
               15 U.S.C. §§ 1064(3) and 1119 – CANCELLATION OF U.S.
                             REGISTRATION NO. 6,618,721
                                    (Generic Mark)

               202. The allegations described in paragraphs 1 through 80, above, are

 hereby reincorporated and realleged herein.

               203. Counter-Plaintiff seeks the cancellation of U.S. Registration 6,618,721

 for all of the claimed services pursuant to 15 U.S.C. Sections 1064(3) and 1119 for

 the reasons stated herein.

               204. Counter-Defendant’s THE BEAUTIES AND THE BRANDS mark is a

 generic designation for the services covered by the registration.

               205. The terms “beauties” and “brands” are generic terms because the

 relevant purchasing public understands these terms as the common or class name

 for the goods or services.


                                                                      Page 44
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 45 of 54 PageID 810




               206. The Subject Mark is generic because its primary significance to the

 relevant public is the class or category of goods or services on or in connection with

 which it is used.

               207. THE BEAUTIES AND THE BRANDS mark is used for services of

 helping people build a brand. Further, the Subject Mark is used for services

 identified as: “Arranging and conducting of educational conferences in the field of

 building a brand.”

               208. According to the Merriam-Webster Dictionary, the term “brand” is

 defined as follows: “a public image, reputation, or identity conceived of as

 something              to       be       marketed               or      promoted.”                See         https://www.merriam-

 webster.com/dictionary/brand.

               209. The relevant public understands the term “brands” from the Subject

 Mark “THE BEAUTIES AND THE BRANDS” to be generic for the claimed service

 of the mark: helping people build a brand.

               210. Therefore, as applied to Counter-Defendant’s services, THE

 BEAUTIES AND THE BRANDS mark is generic because the relevant public

 understands the terms contained in the Subject Mark to refer to the genus of

 services claimed in the Subject Mark’s application.

               211. Consequently, as the Subject Mark is generic, the trademark

 registration should be canceled.



                                                                      Page 45
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 46 of 54 PageID 811




               212. Pursuant to the Lanham Act, the Court has jurisdiction to order the

 USPTO to make appropriate entries on the Federal Register with respect to the

 cancellation of U.S. Registration 6,618,721.

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC, requests

 that it be granted the relief sought in its Prayer for Relief below.

                                    COUNT NINE
             15 U.S.C. §§ 1051, 1064 and 1119 – CANCELLATION OF U.S.
                            REGISTRATION NO. 6,618,721
                     (Not in Use in Commerce- Mere Token Use)

               213. The allegations described in paragraphs 1 through 80, above, are

 hereby reincorporated and realleged herein.

               214. Counter-Plaintiff seeks the cancellation of U.S. Registration 6,618,721

 for all of the claimed services pursuant to 15 U.S.C. Sections 1051, 1064 and 1119

 for the reasons stated herein.

               215. Upon information and belief, on January 27, 2021, the date of the

 filing of the federal trademark application for U.S. Registration 6,618,721,

 Counter-Defendant was not actually using the mark in commerce in connection

 with all the services listed in its federal trademark application.

               216. Upon information and belief, Counter-Defendant did not actually use

 the mark in commerce for all the listed services on the date listed as the first use in

 commerce date on the federal trademark application for U.S. Registration

 6,618,721—January 1, 2019.


                                                                      Page 46
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 47 of 54 PageID 812




               217. Upon               information                and         belief,         Counter-Defendant                        does         not

 commercially use the U.S. Registration 6,618,721 mark in connection with all the

 services listed under U.S. Registration 6,618,721.

             218. Therefore, Counter-Defendant has not established valid rights in the

 Subject Mark, as the Mark has not been used in genuine commercial transactions

 and the use has not been consistent nor continuous.

               219. Mere “token use” of the trademark – use made solely to reserve rights

 in the trademark – is not enough to establish valid rights.

               220. As part of the process of registering a trademark with the Patent and

 Trademark Office, Counter-Defendant swore under oath that it is using its

 trademark in commerce in connection with the services covered by Counter-

 Defendant’s trademark application.

               221. Consequently, as Counter-Defendant has not used the Subject Mark

 in commerce in connection with all of the services covered by Counter-Defendant’s

 trademark application, the trademark registration should be canceled.

               222. Pursuant to the Lanham Act, the Court has jurisdiction to order the

 USPTO to make appropriate entries on the Federal Register with respect to the

 cancellation of U.S. Registration 6,618,721 and Counter-Defendant’s inability to

 establish use in commerce in connection with the Mark.

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC, requests

 that it be granted the relief sought in its Prayer for Relief below.

                                                                      Page 47
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 48 of 54 PageID 813




                              COUNT TEN
 15 U.S.C. §§ 1064 and 1119 – CANCELLATION OF U.S. REGISTRATION
                              NO. 6,618,721
              (Fraud on USPTO - no actual commercial use)

               223. The allegations described in paragraphs 1 through 80, above, are

 hereby reincorporated and realleged herein.

               224. Counter-Plaintiff seeks the cancellation of U.S. Registration 6,618,721

 for all of the claimed services pursuant to 15 U.S.C. Sections 1064 and 1119 for the

 reasons stated herein.

               225. More specifically, Counter-Plaintiff seeks the cancellation of U.S.

 Registration 6,618,721 under 15 U.S.C. § 1064(3) on the ground that the

 registration was procured and/or maintained through a fraudulent filing in the

 U.S. Patent and Trademark Office.

               226. Counter-Defendant has committed fraud on the U.S. Patent and

 Trademark Office regarding the actual use in commerce of the mark, the first use

 in commerce date, and the lack of services that Counter-defendant actually offers

 in connection with the Mark from the list contained in U.S. Registration 6,618,721.

               227. Upon information and belief, on January 27, 2021, the date of the

 filing of the federal trademark application for U.S. Registration 6,618,721,

 Counter-Defendant was not actually using the mark in commerce in connection

 with the services listed in its federal trademark application.



                                                                      Page 48
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 49 of 54 PageID 814




               228. Upon information and belief, Counter-Defendant did not actually use

 the mark in commerce on the date listed as the first use in commerce date on the

 federal trademark application for U.S. Registration 6,618,721—January 1, 2019.

               229. Upon               information                and         belief,         Counter-Defendant                        does         not

 commercially use the U.S. Registration 6,618,721 mark in connection with all the

 services listed under U.S. Registration 6,618,721.

               230. Additionally, Counter-Defendant committed fraud on the U.S. Patent

 and Trademark Office through Counter-Defendant’s intentional failure to identify

 the Blush Bar’s pre-existing use of a variation of the Subject Mark.

               231. As part of the process of registering a trademark with the Patent and

 Trademark Office, Counter-Defendant swore under oath that it was not aware of

 any pre-existing use of the Subject Mark. When Counter-Defendant submitted the

 January 27, 2021, Application, Counter-Defendant did not identify the Blush Bar’s

 use of a variation of the Subject Mark.

               232. Terika Haynes, a principal of Counter-Defendant, knew or should

 have known of Aicha Yoder’s use of a variation of the Subject Mark.

               233. Therefore, the January 27, 2021 Application contained a false or

 fraudulent declaration or representation, in writing, because Counter-Defendant

 intentionally failed to identify the Blush Bar’s pre-existing use of a variation of the

 Subject Mark.



                                                                      Page 49
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 50 of 54 PageID 815




               234. Consequently, Counter-Defendant made a false representation of fact

 to the U.S. Patent and Trademark Office, the false representation was made with

 an intent to deceive, and the false representation was material in the sense that the

 U.S. Patent and Trademark Office would not have issued or maintained Counter-

 Defendant’s registration in the absence of the false representation.

               235. Counter-Defendant’s registration was obtained from and/or has been

 maintained in, the U.S. Patent and Trademark Office through a false or fraudulent

 filing, and thus, U.S. Registration 6,618,721 should be cancelled.

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC, requests

 that it be granted the relief sought in its Prayer for Relief below.

                                                     PRAYER FOR RELIEF

            WHEREFORE, Counter-Plaintiff, THE BLUSH BAR TAMPA, LLC,

 respectfully requests that this Court grant the following relief:

            A. That this Court adjudicate and declare that Blush Bar’s use of BEAUTY &

                  THE BRAND or variations or components thereof does not violate

                  federal law, including 15 U.S.C. §§ 1114 and 1125 of the Lanham Act

                  because Defendant’s THE BEAUTIES AND THE BRANDS fails to

                  function as a mark, is generic, is merely descriptive, and/or because it did

                  not acquire secondary meaning prior to Blush Bar’s use of BEAUTY &

                  THE BRAND or variations or components thereof;



                                                                      Page 50
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 51 of 54 PageID 816




            B. That this Court adjudicate and declare that Blush Bar’s use of BEAUTY &

                  THE BRAND or variations or components thereof does not violate

                  Florida law because Counter-Defendant’s THE BEAUTIES AND THE

                  BRANDS fails to function as a mark, is generic, is merely descriptive,

                  and/or because it did not acquire secondary meaning prior to Blush Bar’s

                  use of BEAUTY & THE BRAND or variations or components thereof;

            C. That this Court adjudicate and declare that Blush Bar’s use of BEAUTY &

                  THE BRAND or variations or components thereof does not constitute

                  infringement, false designation of origin, or unfair competition in

                  violation of the Lanham Act, 15 U.S.C. §§ 1114, 1125 of the Lanham Act,

                  because there is no likelihood of confusion, mistake, or deception with

                  THE BEAUTIES AND THE BRANDS, and because Blush Bar has not

                  committed any other acts proscribed by the statute;

            D. That this Court adjudicate and declare that Blush Bar’s use of BEAUTY &

                  THE BRAND or variations or components thereof does not constitute

                  infringement, false designation of origin, or unfair competition in

                  violation of Florida law, because there is no likelihood of confusion,

                  mistake, or deception with THE BEAUTIES AND THE BRANDS;

            E. Declare that (i) the Subject mark and Registration Number 6,618,721 is

                  generic, is merely descriptive, and/or holds no secondary meaning nor

                  identifies the source of the product or service, and (ii) Counter-

                                                                       Page 51
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 52 of 54 PageID 817




                  Defendant does not have exclusive rights to the term “THE BEAUTIES

                  AND THE BRANDS” for conducting seminars, workshops, and/or

                  conferences in the field of building a brand;

            F. Declare that Counter-Defendant procured a trademark registration by

                  fraud on the USPTO because it had not used the Registration Number

                  6,618,721 in commerce for all services listed therein at the time it filed its

                  January 27, 2021 trademark application;

            G. Declare that Counter-Defendant procured a trademark registration by

                  fraud on the USPTO because it had knowledge of Blush Bar’s use of a

                  variation of the Subject Mark at the time it filed its January 27, 2021

                  trademark application;

            H. That this Court enter Final Judgment cancelling Counter-Defendant’s

                  federal trademark, Registration Number 6,618,721, and directing the

                  Director of the United States Patent and Trademark Office to remove

                  such registration from the Principal Register; and

            I. That the Counter-Defendant be awarded any other and further relief that

                  this Court deems just and proper


                                                            JURY DEMAND

            Plaintiff hereby demands a trial by jury on all issues so triable.




                                                                      Page 52
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 53 of 54 PageID 818




 Respectfully submitted this 21st day of November, 2023.

                                                                Ligon Law Group, LLC dba PrettySMART Law
                                                                PrettySMARTLaw@gmail.com
                                                                100 Biscayne Blvd. #1114
                                                                Miami, FL 33132
                                                                Tel. (888)-779-7426
                                                                PrettySMARTLaw@gmail.com
                                                                shannon@PrettySMARTLaw.com

                                                                 s/ Shannon A. Ligon
                                                                 Florida Bar No. 59191



                                                                COLE, SCOTT & KISSANE, P.A.
                                                                9150 South Dadeland Boulevard
                                                                Suite 1400
                                                                Miami, Florida 33256
                                                                Telephone: (786) 268-6752
                                                                Fax (305) 373-2294
                                                                Primary Email: justin.maya@csklegal.com
                                                                Secondary Email: ieshia.owens@csklegal.com

                                                                s/ Justin S. Maya
                                                                JUSTIN S. MAYA, ESQ.
                                                                Florida Bar No.: 126087



                                                           Counsel for Counter-Plaintiff




                                                                      Page 53
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 8:23-cv-00821-SDM-TGW Document 68 Filed 11/21/23 Page 54 of 54 PageID 819




                                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 21, 2023, I electronically filed the
 foregoing with the Clerk of Court using the CM/ECF system, which will send a
 notice of electronic filing to all parties of record:


                                                                                   COLE, SCOTT & KISSANE, P.A.
                                                                                   Counsel for Counter-Plaintiff
                                                                                   9150 South Dadeland Boulevard
                                                                                   Suite 1400
                                                                                   Miami, Florida 33256
                                                                                   Telephone: (786) 268-6752
                                                                                   Fax (305) 373-2294
                                                                                   Email: justin.maya@csklegal.com


                                                                                   s/Justin S. Maya
                                                                                   JUSTIN S. MAYA, ESQ.
                                                                                   Florida Bar No.: 126087




                                                                Service List

 STOKES LAW GROUP, PLLC
 Shaunette Stokes, Esquire
 shaunette@stokeslegalcounsel.com
 Attorney for Counter-Defendant




                                                                      Page 54
                                                       COLE, SCOTT & KISSANE, P.A.
 COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
